                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
On April 12, 2011, the court sent the parties a Journal Entry instructing Plaintiff to file a written response to Defendant's recommendations by June 30, 2011. Plaintiff's response was to state whether Defendant's recommendations were accepted in full or in part, or whether Plaintiff was continuing his appeal and requesting a trial. The Journal Entry advised that failure to comply with the deadlines set forth therein might result in dismissal of Plaintiff's appeal.
Plaintiff's deadline has passed and the court has not received Plaintiff's written response to Defendant's recommendations or any further communication from Plaintiff. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ____ day of July 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Presiding Magistrate Jill A.Tanner on July 12, 2011. The Court filed and entered this documenton July 12, 2011. *Page 1 